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11                     UNITED STATES DISTRICT COURT
12                    CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
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                                     )
16                                   )
                                     ) Case No. 14-cv-02004-DOC (KES)
17   IN RE ALLERGAN, INC.            )
                                     )          SPECIAL MASTER
18   SECURITIES LITIGATION           )
                                     )            ORDER NO. 41
19                                   )
                                     )
20                                   ) RULING ON DISPUTED ISSUES
                                     )      REGARDING PRETRIAL
21                                   )
                                     )              SCHEDULE
22                                   )
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                        SPECIAL MASTER ORDER NO. 41
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 1         This matter is scheduled for trial January 30, 2018, and the final pretrial
 2   conference is scheduled for January 16, 2018. In an effort to facilitate their
 3   compliance with all Local Rules and previous orders of court, the parties have
 4   engaged in an extensive meet and confer process in an effort to agree on various
 5   deadlines that are not specifically addressed in the Local Rules. Counsel are
 6   commended for their effort in this regard as they have been successful in reaching
 7   agreement as to all but the following three issues, which are the subject of this
 8   Order.
 9
10   Issue #1: Disclosure of Final Witness Lists and Confirmation of Witness
11   Availability.
12         Final witness lists, indicating those witnesses that are expected to testify
13   live at trial, shall be exchanged on December 5, 2017. Any information regarding
14   the availability of proposed witnesses will be a subject of the meeting of lead
15   counsel to be conducted December 6, 2017.
16         The use of deposition testimony in the event a witness is unavailable or
17   unwilling to appear is a matter to be ruled upon by the Court at the time of trial.
18   However, should any party anticipate such a request will be made, they must
19   provide the adverse party(s) with deposition designations in compliance with the
20   Local Rules on or before December 27, 2017. Counter-designations and/or
21   objections to designations must be provided on or before January 24, 2018. All
22   depositions which are the subject of the above designations, counter-designations,
23   and/or objection(s) shall be lodged with the Court on or before January 30, 2018.
24
25   Issue #2: Deadline for Contingent Exhibit Lists Regarding Bifurcation Issues.
26         The issue presented is whether Plaintiffs should be given relief from the
27   existing deadline established by the Court for the submission of a joint exhibit
28   list. Plaintiffs contend the exhibits identified should be limited to those that have
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                           SPECIAL MASTER ORDER NO. 41
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 1   relevance only to “class issues” and not those having relevance only to the
 2   individual claims of the class representatives. Defendants correctly point out that
 3   this distinction would only have significance if the Court were to order these
 4   issues bifurcated and the class representative claims addressed at a later
 5   proceeding. However, no motion for bifurcation has been submitted by Plaintiffs.
 6   In the absence of a request for bifurcation or a sua sponte order of the Court, there
 7   will be no bifurcation. Therefore, any modification of the existing Court Order
 8   regarding the exchange of exhibit lists is not appropriate at this time.
 9
10   Issue #3: Deadline for Motions in Limine and Daubert Motions.
11         Special Master Order No. 8 provided as follows:
12
           Motions in limine (including Daubert motions) (shall be) briefed
13         under C.D. Cal. Local Rules for noticed motions, to be heard at or
14         before the final pretrial conference.
15
           Plaintiffs seek to modify this order based primarily upon the special
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     circumstances presented by the holiday season. While this concern is well
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     founded, the remedy proposed would deprive the moving party of its opportunity
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     to reply to any briefs filed in opposition to its motion. The briefing schedule
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     provided for in Special Master Order No. 8 will not be modified. If a briefing
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     schedule creates a hardship on any party, the Special Master will entertain an ex
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     parte conference call to address issues that cannot be resolved through the meet
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     and confer process.
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                           SPECIAL MASTER ORDER NO. 41
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 1   IT IS SO ORDERED.
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     November 20, 2017
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                         SPECIAL MASTER ORDER NO. 41
